Case 0:17-cv-60426-UU Document 415-1 Entered on FLSD Docket 01/14/2019 Page 1 of 20




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION


    ALEKSEJ GUBAREV,
    XBT HOLDING S.A., and
    WEBZILLA, INC.                                                       Case No.
      Plaintiffs,
                                                                    0:17-cv-60426-UU
    v.

    BUZZFEED, INC. and
    BEN SMITH
      Defendants.


                                         PROOF OF SERVICE

   I, Matthew Shayefar, do hereby declare as follows:

          1.      I am counsel of record to Plaintiffs in the above captioned action. I am over the

   age of 18. I make this declaration based on my own personal knowledge.

          2.      Pursuant to the Court’s December 18 Order, Docket Entry Number 382, Plaintiffs

   served notices to third parties concerned the proposed unsealing of materials. By agreement

   between the parties, Plaintiffs prepared and served notices on Cable News Network/Turner

   Broadcasting Systems (on behalf of both parties), Christopher Steele (on behalf of both parties),

   Fusion GPS (on behalf of Plaintiffs only), and KGlobal (on behalf of Plaintiffs only). It is my

   understanding that Defendants prepared and served notices on David Kramer (on behalf of

   Defendants only), Bitly, Inc. (on behalf of both parties), and the FBI (on behalf of both parties).

          3.      Each of the parties notified by Plaintiffs has been served in accordance with the

   Court’s order, detailed as follows.

          4.      On December 26, 2018, counsel for Mr. Christopher Steele, Ms. Christly Eikhoff,

   agreed to waive service by mail and accept service of the notice by email. Attached hereto as

                                                    1
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   Exhibit 1 is a true and correct copy of my email correspondence with Ms. Eikhoff relating to the

   foregoing. Thereafter, on December 26, 2018, I emailed a copy of the notice to Ms. Eikhoff as

   counsel for Christopher Steele. Attached hereto as Exhibit 2 is a true and correct copy of my

   email to Ms. Eikhoff that attached the notice.

          5.      On December 27, 2018, counsel for Fusion GPS, Mr. Steven Salky, agreed to

   waive mail service in accordance with the Court’s order. Thereafter, on December 27, 2018, I

   emailed a copy of the notice to Mr. Salky as counsel for Fusion GPS. A true and correct copy of

   my correspondence with Ms. Salky, including his email accepting service via email and my

   email attaching the required notice, is attached hereto as Exhibit 3.

          6.      On December 26, 2018, I sent two copies of the required notice to Turner

   Broadcasting System, Inc. and Cable News Network Inc. via certified mail (one copy to their

   joint headquarters in Atlanta, Georgia and another to CNN’s registered agent in Florida). On the

   same date, I also sent a courtesy copy of the notice via email to Mr. Charles Tobin, who has

   previously held himself out to be counsel for these parties in connection with discovery they

   jointly produced in this case, though Ms. Tobin could not confirm whether he could accept

   service of the notice via email. Thereafter, my office received a return receipt for Cable News

   Network Inc.’s registered agent in Florida stating that the notice had been delivered on

   December 31, 2018 (a true and correct copy of which is attached hereto as Exhibit 4) and a

   return receipt from the CNN/TBS headquarters in Atlanta, Georgia stating that the notice had

   been delivered on January 2, 2019 (a true and correct copy of which is attached hereto as

   Exhibit 5).

          7.      On December 28, 2018, I emailed a copy of the required notice to KGlobal LLC’s

   counsel Thomas McKee. However, Mr. McKee did not confirm that he was authorized to accept



                                                    2
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   service of the notice via email, so on December 29, 2018 my office sent a copy of the notice to

   KGlobal directly via certified mail. Thereafter, my office received a return receipt from

   KGlobal stating that the notice had been delivered on January 2, 2019. A true and correct copy

   of the return receipt is attached hereto as Exhibit 6.



   I declare under the penalty of perjury that the foregoing is true and correct.



   Dated: January 14, 2019                        ________________________________
                                                  Matthew Shayefar




                                                     3
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                                Exhibit
                                  1
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Gubarev v Buzzfeed - Court Order on Unsealing
Eikhoff, Christy Hull <Christy.Eikhoff@alston.com>                                  Wed, Dec 26, 2018 at 1:34 PM
To: Matthew Shayefar <matt@bostonlawgroup.com>
Cc: "Evan@CFWLegal.com" <Evan@cfwlegal.com>, Val Gurvits <vgurvits@bostonlawgroup.com>, "Ramsay, Kristi"
<Kristi.Ramsay@alston.com>


 Hello – we agree to waive service by mail and will accept service of the specified Notice by email.



 Christy Hull Eikhoff

 Alston & Bird, LLP

 404-881-4496 direct

 404-881-7000 main

 Assistant: Scott Bobo (scott.bobo@alston.com)

 Christy.eikhoff@alston.com




 From: Matthew Shayefar [mailto:matt@bostonlawgroup.com]
 Sent: Wednesday, December 26, 2018 1:28 PM
 To: Eikhoff, Christy Hull <Christy.Eikhoff@alston.com>
 Cc: Evan@CFWLegal.com; Val Gurvits <vgurvits@bostonlawgroup.com>
 Subject: Gubarev v Buzzfeed - Court Order on Unsealing



 Hi Christy,


 Please recall that I represent the Plaintiffs in the Gubarev v Buzzfeed case. The Court last week issued an
 order regarding procedures for notifying non-parties about potential unsealing in the case. As part of the
 procedure, we will need to provide Mr. Steele the notice specified in the attached order, which we must do
 before the end of the week.


 Will you please let me know as soon as possible whether your client waives mail service and that we can just
 email it to you? This will simply mean that we can get you the notice quicker and without having to print
 out many pages of documents.


 Please let me know as soon as possible.


 Happy new year,


 Matthew Shayefar
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Boston Law Group, PC

825 Beacon Street, Suite 20 | Newton Centre, MA 02459
Direct: (617) 928-1806 | Tel: (617) 928-1800 | Fax: (617) 928-1802

matt@bostonlawgroup.com

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mail: info@bostonlawgroup.com

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                                Exhibit
                                  2
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Gubarev v Buzzfeed - Time Sensitive - Potential Unsealing of Confidential
Documents
Matthew Shayefar <matt@bostonlawgroup.com>                                            Wed, Dec 26, 2018 at 7:30 PM
To: "Eikhoff, Christy Hull" <Christy.Eikhoff@alston.com>
Cc: "Evan@CFWLegal.com" <Evan@cfwlegal.com>, Val Gurvits <vgurvits@bostonlawgroup.com>, "Schary, Alison"
<AlisonSchary@dwt.com>, "Bolger, Kate" <KateBolger@dwt.com>, "Siegel, Nathan" <NathanSiegel@dwt.com>


 Dear Christy,


 Please see the attached.


 Very truly yours,


 Matthew Shayefar



 Boston Law Group, PC

 825 Beacon Street, Suite 20 | Newton Centre, MA 02459
 Direct: (617) 928-1806 | Tel: (617) 928-1800 | Fax: (617) 928-1802

 matt@bostonlawgroup.com

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       Notice to Steele 12-26-18 FINAL.pdf
       915K
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                                Exhibit
                                  3
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Gubarev v Buzzfeed - Court Order on Unsealing
Matthew Shayefar <matt@bostonlawgroup.com>                                           Thu, Dec 27, 2018 at 12:15 PM
To: "Salky, Steven M." <Ssalky@zuckerman.com>
Cc: "Evan@CFWLegal.com" <Evan@cfwlegal.com>, Val Gurvits <vgurvits@bostonlawgroup.com>,
"jal@cunninghamlevy.com" <jal@cunninghamlevy.com>, "Schary, Alison" <AlisonSchary@dwt.com>, "Siegel, Nathan"
<NathanSiegel@dwt.com>, "Bolger, Kate" <KateBolger@dwt.com>

 Thanks Steve. Please find attached the notice being served on you via email for Fusion GPS.

 Best,

 Matthew Shayefar

 Boston Law Group, PC
 825 Beacon Street, Suite 20 | Newton Centre, MA 02459
 Direct: (617) 928-1806 | Tel: (617) 928-1800 | Fax: (617) 928-1802
 matt@bostonlawgroup.com

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 mail: info@bostonlawgroup.com
 In compliance with IRS regulations, we advise you that any discussion of Federal tax issues is not intended or written to
 be used, and may not be used, by you to avoid any penalties imposed under the Internal Revenue Code or to promote,
 market or recommend to another party any transaction or matter addressed.

 -----Original Message-----
 From: Salky, Steven M. <Ssalky@zuckerman.com>
 Sent: Thursday, December 27, 2018 8:57 AM
 To: Matthew Shayefar <matt@bostonlawgroup.com>
 Cc: Evan@CFWLegal.com; Val Gurvits <vgurvits@bostonlawgroup.com>; jal@cunninghamlevy.com
 Subject: Re: Gubarev v Buzzfeed - Court Order on Unsealing


 Matthew: in accordance with paragraph 3.e of the Court's order, Fusion GPS waives Mail Service.
 Sent from my iPhone

 On Dec 26, 2018, at 1:18 PM, Matthew Shayefar <matt@bostonlawgroup.com<mailto:matt@bostonlawgroup.com>>
 wrote:

 Hi Steve,

 Please recall that I represent the Plaintiffs in the Gubarev v Buzzfeed case. The Court last week issued an order
 regarding procedures for notifying non-parties about potential unsealing in the case. As part of the procedure, we will
 need to provide Fusion GPS of the notice specified in the attached order, which we intend to do before the end of the
 week.

 Will you please let me know as soon as possible whether your client waives mail service? This will simply mean that we
 can get you the notice quicker and without having to print out many pages of documents.

 Please let me know as soon as possible.

 Happy new year,

 Matthew Shayefar

 Boston Law Group, PC
 825 Beacon Street, Suite 20 | Newton Centre, MA 02459
 Direct: (617) 928-1806<tel:%28617%29%20928-1806> | Tel: (617) 928-1800<tel:%28617%29%20928-1800> | Fax: (617)
 928-1802<tel:%28617%29%20928-1802>
 matt@bostonlawgroup.com<mailto:matt@bostonlawgroup.com>
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In compliance with IRS regulations, we advise you that any discussion of Federal tax issues is not intended or written to
be used, and may not be used, by you to avoid any penalties imposed under the Internal Revenue Code or to promote,
market or recommend to another party any transaction or matter addressed.

<384 - Corrected Order Regarding Procedure for Notifying Non-Parties.pdf>

    Notice to Fusion 12-27-18.pdf
    1910K View as HTML Download
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                                 Exhibit
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                                 Exhibit
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